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15
                                UNITED STATES DISTRICT COURT
16
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17
18    ROBERT ALEXANDER KASEBERG,         )        Case No. 15-CV-01637-JLS-DHB
                                         )
19                                       )
                   Plaintiff,            )
20                                       )
                                         )
21           vs.                         )        JOINT PROPOSED VOIR DIRE
                                         )        QUESTIONS
22                                       )
      CONACO, LLC; TURNER                )
23    BROADCASTING SYSTEM; TIME          )        Judge: Hon. Janis L. Sammartino
      WARNER, INC.; CONAN O’BRIEN;       )
24                                       )        Trial: May 28, 2019
      JEFF ROSS; MIKE SWEENEY; DOES 1 )
25    – 10, inclusive,                   )
                                         )
26                                       )
                   Defendants.           )
27    __________________________________ )
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                                JOINT PROPOSED VOIR DIRE QUESTIONS
      1610461.1
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 1            The parties jointly submit the following proposed questions to be asked of the
 2    jury pool by the Court during jury selection:
 3    I.      JOINT PROPOSED QUESTIONS
 4            1.    Would any of you hold someone who is famous to a different standard
 5    from anyone else? How about someone who is wealthy? How about someone who does
 6    not work a regular, “9-to-5” job?
 7            2.    Do any of you believe that a corporation should be treated differently in the
 8    eyes of the law? How and why?
 9            3.    Could you be fair and impartial to a party that is not able to attend trial
10    every day? Would you hold a party’s inability to attend against them, or vice versa?
11            4.    Are you familiar with the internet and social media generally? Are you
12    familiar with Twitter? Are you familiar with the blogging platform “Blogger”? Would
13    you feel comfortable deciding a case involving this technology? Would you keep an
14    open mind and be willing to learn how these technologies work?
15            5.    Has anyone ever been a comedian or comedy writer? Are you close to
16    anyone who is a comedian or comedy writer?
17            6.    Do any of you have any belief or feeling toward comedians that might be
18    regarded as a bias or prejudice for or against them?
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                               JOINT PROPOSED VOIR DIRE QUESTIONS
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     Case 3:15-cv-01637-JLS-MSB Document 233 Filed 03/28/19 PageID.7798 Page 3 of 3



 1    DATED: March 28, 2019              J. LORENZO LAW

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 3
                                         By:/s/ Jayson M. Lorenzo ______
 4                                             JAYSON M. LORENZO
 5                                             Attorney for Plaintiff
 6
 7
 8    DATED: March 28, 2019             GLASER WEIL FINK HOWARD
                                         AVCHEN & SHAPIRO LLP
 9
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                                        By: /s/ Thomas P. Burke Jr.
11                                           PATRICIA L. GLASER
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